  Case 4:14-cv-00868-O Document 118 Filed 11/30/16                    Page 1 of 2 PageID 2397


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

SAMANTHA TRIMBLE                                §
    Plaintiff,                                  §
                                                §
                                                §       Civil Action No. 4:14-CV-00868-O
                                                §
MILLWOOD HOSPITAL                               §
    Defendant.                                  §


                                  NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Samantha Trimble, Plaintiff herein, by and through her attorney of record,

Martin J. Cirkiel, of the Law Firm of Cirkiel & Associates, P.C., to file this Notice of Settlement with

the Court to inform the Court that the parties participated in a mediation on November 16 , 2016,

and have reached a settlement agreement in this case and that all deadlines are hereby abated.

        Further, and that the Court set this cause for final hearing accordingly.



                                                Respectfully submitted,


                                                Cirkiel & Associates, P.C.


                                                ___________________________________
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                                                ATTORNEYS FOR PLAINTIFFS




Notice of Settlement                                                                                  1
  Case 4:14-cv-00868-O Document 118 Filed 11/30/16                 Page 2 of 2 PageID 2398




                                 CERTIFICATE OF SERVICE


           The undersigned hereby certifies that a true and correct copy of the foregoing has been

forwarded to the following parties on this the 17th day of December, 2015 by Notice of Electronic

Filing from the Clerk of the Court:



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                                                     ___________________________________

                                                     Martin J. Cirkiel




Notice of Settlement                                                                            2
